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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION
  IN RE:    Zulma Consuelo Pineda                                                  CASE NO        18-30380-HDH-13

                                                                                  CHAPTER         13

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 2/5/2018                                            Signature    /s/ Zulma Consuelo Pineda
                                                                     Zulma Consuelo Pineda



Date                                                     Signature
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                        Chapter 13 Trustee
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